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           EXHIBIT E
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UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS
                                                                                                                                  16-0035155905
 A. NAME & PHONE OF CONTACT AT FILER (optional)                                                                                   10/25/2016 12:15 PM
     Robert Hempstead, Esq.
 B. E-MAIL CONTACT AT FILER (optional)                                                                                                           I        I FILED
                                                                                                                                                              /MIS
 C. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                                                                                   II II II                   SECRFTARY OP SdniE
                                                                                                                                   OS
           Sills Commis & Gross P.C.
           One Riverfront Plaza
           Newark, NJ 07102-5400                                                                                              hIIII I'I              II   1   III II IIII
           Attention: Robert Hempstead, Esq.                                                                                     696046820002
     L                                                                                                  1\16
                                                                                                                 THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME: Provide only go Debtor name (la or lb) (use exact. full name: do not omit, modify, or abbreviate any part of the Debtors name): if an part of the Individual Debtors
   name wilt not fit In line Ib, leave all of item I blank, check here nand provide the Individual Debtor information in item 10 of the Financing Statement Addendum Form UCCIAd)
     Ia. ORGANIZATION'S NAME

OR
      KORNBLUTH TEXAS, LLC
      lb. INDIVIDUAL'S SURNAME                                                      FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


lc. MAILING ADDRESS                                                                 CITY                                               STATE         POSTAL CODE              COUNTRY
 302 W. Bay Area Boulevard                                                           Webster                                            TX           77598                     USA
2. DEBTOR'S NAME: Provide only =Debtor name (2e M 2b) (use exact, full name; do not omit, modify, or abbreviate any pan of the Debtors name); if any pan of the Indi idual Debtors
   name will not lit In the 20, leave all of item 2 blank, check here and provide the Individual Debtor Information in item le of the Financing St @mem Addendum (Form uCCIA,d)
     2a ORGANIZATION NAME


OR
     2b.     VIDUAL'S SURNAME                                                       FIRST PERSONAL NAME                               ADDITIONAL NAME(S)/INITIAL(              UFA%


2c MAILING ADDRESS                                                                  CITY                                               STATE         POSTAL CODE              COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only gpg Secured Party name (3a or 3b
      3a. ORGANIZATION'S NAME

      RIALTO MORTGAGE FINANCE, LLC
OR
      3b. INDIVIDUAL'S SURNAME                                                      FIRST PERSONAL NAME                               ADDITIONAL NAMEISI/INITIALIS)           SUFFIX


Sc,MAILING ADDRESS                                                                  CITY                                              STATE          POSTAL CODE              COUNTRY
 600 Madison Avenue, 12th Floor                                                      New York                                           NY           10022                     USA
4. COLLATERAL: This financing statement covers the to -gown collateral:


 See Exhibit A and Exhibit B attached hereto and incorporated herein by reference.




5. Check old it applicable and check only one box: Collateral Is in held In a Trust (see UCCIAd, item 17 and instruCtiOnS)   ilbeing administered bye Decedent's Personal Representative
ea. area we if applicable and check only one box:                                                                               66. Check gay it applicable end check DIU one box:
     0 Public -Finance Transaction            Menu(actured.Nome Transaction         0 A Debtor is a Transmitting Utility                Agricultural Lien       9 Non-UCC Filing
7. ALTERNATIVE DESIGNATION Of applicable): 9 Lessee/Lessor                   9 Consignee/Consignor              Salier/Suy r                  Bailee/Bailor            Licenseehicensor
8. OPTIONAL FILER REFERENCE DATA:
 To be recorded in the Office of the Texas Secretary of State                                                                                                   109720041.0671
                                                                                                                International Association of Commercial Administrators (IACA)
FILING OFFICE COPY-UCC FINANCING STATEMENT (Form UCCI) (Rev 04120/11)
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                                         EXHIBIT A

                                      (Legal Description)

                                  302 West Bay Area Blvd
                                Webster, Harris County, Texas



Fee Parcel

Tract I:

Unrestricted Reserve "C", Block 1, of One Bay Area Plaza, Harris County, Texas recorded under
Film Code Number 612277 of the Map Records of Harris County, Texas; and

Easement:

TOGETHER WITH easement described in Easement Agreement, dated December 21, 2006,
executed by and between Bay Area 4.5, Ltd., and Webster Hotel, LLC., as set forth in
instrument(s) recorded at Harris County Clerk's File No. 20060296799 corrected by
20080242828 of the Real Property Records of Harris County, Texas. As shown and noted on
survey prepared by Prime Texas Surveys, dated September 30, 2016; Job No. 161190.

TOGETHER WITH easement described in Easement Agreement, dated dated December 6, 2007,
executed by and between Bay Area 4.5, Ltd., and Webster Hotel, LLC., as set forth in instrument
recorded at Harris County Clerk's File No. 20070727577 of the Real Property Records of Harris
County, Texas and ratified by Narendra Maran, as set forth in Ratification of Plat and Easement
Agreement recorded under Clerk's File No. 20080242827 of the Real Property Records of Harris
County, Texas. As shown and noted on survey prepared by Prime Texas Surveys, dated
September 30, 2016; Job No. 161190.




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                                           EXHIBIT B

                    ATTACHED TO AND MADE A PART OF THAT
                   CERTAIN UCC-1 FINANCING STATEMENT BY
                       KORNBLUTH TEXAS, LLC ("DEBTOR"),
         IN FAVOR OF RIALTO MORTGAGE FINANCE, LLC ("SECURED PARTY")

This financing statement covers all right, title and interest of Debtor in and to the following
described real and other property, together with all substitutions for and all replacements,
reversions and remainders of such property and all appurtenances and additions thereto, whether
now owned or hereafter acquired by Debtor (collectively, the "Property"):

               (a)    Land. The real property described in Exhibit A attached hereto and made
a part hereof (the "Land")

              (b)     Additional Land. All additional lands, estates and development rights
hereafter acquired by Debtor for use in connection with the Land and the development of the
Land and all additional lands and estates therein which may, from time to time, by supplemental
mortgage or otherwise be expressly made subject to the lien of this Security Instrument;

               (c)     Improvements.        The   buildings, structures, fixtures, additions,
enlargements, extensions, modifications, repairs, replacements and improvements now or
hereafter erected or located on the Land (the "Improvements");

                (d)     Easements. All easements, rights -of -way or use, rights, strips and gores of
land, streets, ways, alleys, passages, sewer rights, water, water courses, water rights and powers,
air rights and development rights, and all estates, rights, titles, interests, privileges, liberties,
servitudes, tenements, hereditaments and appurtenances of any nature whatsoever, in any way
now or hereafter belonging, relating or pertaining to the Land and the Improvements and the
reversion and reversions, remainder and remainders, and all land lying in the bed of any street,
road or avenue, opened or proposed, in front of or adjoining the Land, to the center line thereof
and all the estates, rights, titles, interests, dower and rights of dower, curtesy and rights of
curtesy, property, possession, claim and demand whatsoever, both at law and in equity, of Debtor
of, in and to the Land and the Improvements and every part and parcel thereof, with the
appurtenances thereto;

                       Fixtures and Personal Property. All machinery, equipment, fixtures
(including, but not limited to, all heating, air conditioning, plumbing, lighting, communications
and elevator fixtures, inventory and goods), inventory and articles of personal property and
accessions thereof and renewals, replacements thereof and substitutions therefor (including, but
not limited to, beds, bureaus, chiffonniers, chests, chairs, desks, lamps, mirrors, bookcases,
tables, rugs, carpeting, drapes, draperies, curtains, shades, venetian blinds, screens, paintings,
hangings, pictures, divans, couches, luggage carts, luggage racks, stools, sofas, chinaware,
linens, pillows, blankets, glassware, silverware, foodcarts, cookware, dry cleaning facilities,
dining room wagons, keys or other entry systems, bars, bar fixtures, liquor and other drink
dispensers, icemakers, radios, television sets, intercom and paging equipment, electric and
electronic equipment, dictating equipment, private telephone systems, medical equipment, potted



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plants, heating, lighting and plumbing fixtures, fire prevention and extinguishing apparatus,
cooling and air-conditioning systems, elevators, escalators, fittings, plants, apparatus, stoves,
ranges, refrigerators, laundry machines, tools, machinery, engines, dynamos, motors, boilers,
incinerators, switchboards, conduits, compressors, vacuum cleaning systems, floor cleaning,
waxing and polishing equipment, call systems, brackets, electrical signs, bulbs, bells, ash and
fuel, conveyors, cabinets, lockers, shelving, spotlighting equipment, dishwashers, garbage
disposals, washers and dryers), other customary hotel equipment and other tangible and all other
property of every kind and nature whatsoever owned by Debtor, or in which Debtor has or shall
have an interest, now or hereafter located upon the Land and the Improvements, or appurtenant
thereto, and usable in connection with the present or future operation and occupancy of the Land
and the Improvements and all building equipment, materials and supplies of any nature
whatsoever owned by Debtor, or in which Debtor has or shall have an interest, now or hereafter
located upon the Land and the Improvements, or appurtenant thereto, or usable in connection
with the present or future operation and occupancy of the Land and the Improvements
(collectively, the "Personal Property"), and the right, title and interest of Debtor in and to any of
the Personal Property which may be subject to any security interests, as defined in the Uniform
Commercial Code, as adopted and enacted by the State or States where any of the Property is
located (the "Uniform Commercial Code"), superior in lien to the lien of this Security Instrument
and all proceeds and products of the above;

                 (0      Leases and Rents. All leases, subleases, rental agreements, registration
cards and agreements, if any, and other agreements, whether or not in writing, affecting the use,
enjoyment or occupancy of the Land and/or the Improvements heretofore or hereafter entered
into and all extensions, amendments and modifications thereto, whether before or after the filing
by or against Debtor of any petition for relief under the Bankruptcy Code (the "Leases") and all
right, title and interest of Debtor, its successors and assigns therein and thereunder, including,
without limitation, any guaranties of the lessees' obligations thereunder, cash or securities
deposited thereunder to secure the performance by the lessees of their obligations thereunder and
all rents, additional rents, payments in connection with any termination, cancellation or surrender
of any Lease, revenues, issues registration fees, if any and profits (including all oil and gas or
other mineral royalties and bonuses) from the Land and/or the Improvements, all income, rents,
room rates, issues, profits, revenues, deposits, accounts and other benefits from the operation of
the hotel on the Land and/or the Improvements, including, without limitation, all revenues and
credit card receipts collected from guest rooms, restaurants, bars, mini -bars, meeting rooms,
banquet rooms and recreational facilities and otherwise, all receivables (including Accounts
Receivable), customer obligations, installment payment obligations and other obligations now
existing or hereafter arising or created out of sale, lease, sublease, license, concession or other
grant of the right of the possession, use or occupancy of all or any portion of the Land and/or
Improvements, or personalty located thereon, or rendering of services by Debtor or any operator
or manager of the hotel or the commercial space located in the Improvements or acquired from
others including, without limitation, from the rental of any office space, retail space, commercial
space, guest room or other space, halls, stores or offices, including any deposits securing
reservations of such space, exhibit or sales space of every kind, license, lease, sublease and
concession fees and rentals, health club membership fees, food and beverage wholesale and retail
sales, service charges, vending machine sales and proceeds, if any, from business interruption or
other loss of income insurance relating to the use, enjoyment or occupancy of the Land and/or
the Improvements whether paid or accruing before or after the filing by or against Debtor of any


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petition for relief under the Bankruptcy Code and all proceeds from the sale or other disposition
of the Leases (the "Rents") and the right to receive and apply the Rents to the payment of the
Debt;

                (g)     Condemnation Awards. All awards or payments, including interest
thereon, which may heretofore and hereafter be made with respect to the Property, whether from
the exercise of the right of eminent domain (including but not limited to any transfer made in lieu
of or in anticipation of the exercise of the right), or for a change of grade, or for any other injury
to or decrease in the value of the Property;

              (h)     Insurance Proceeds. All proceeds of and any unearned premiums on any
insurance policies covering the Property, including, without limitation, the right to receive and
apply the proceeds of any insurance, judgments, or settlements made in lieu thereof, for damage
to the Property;

                (i)     Tax Certiorari. All refunds, rebates or credits in connection with a
reduction in real estate taxes and assessments charged against the Property as a result of tax
certiorari or any applications or proceedings for reduction;

                     Conversion. All proceeds of the conversion, voluntary or involuntary, of
any of the foregoing including, without limitation, proceeds of insurance and condemnation
awards, into cash or liquidation claims;

                   (k) Rights. The right, in the name and on behalf of Debtor, to appear in and
defend any action or proceeding brought with respect to the Property and to commence any
action or proceeding to protect the interest of Secured Party in the Property;

               (I)      Agreements.      All agreements, contracts, certificates, instruments,
franchises, permits, licenses, plans, specifications and other documents, now or hereafter entered
into, and all rights therein and thereto, respecting or pertaining to the use, occupation,
construction, management or operation of the Land and any part thereof and any Improvements
or respecting any business or activity conducted on the Land and any part thereof and all right,
title and interest of Debtor therein and thereunder, including, without limitation, the right, upon
the happening of any default hereunder, to receive and collect any sums payable to Debtor
thereunder;

              (m)     Intangibles. All trade names, trademarks, servicemarks, logos, copyrights,
goodwill, books and records, tenant or guest lists, advertising materials, telephone exchange
numbers identified in such materials and all other general intangibles relating to or used in
connection with the operation of the Property;

                     Accounts. All accounts, account collateral, reserves, escrows and deposit
                   (n)
accounts maintained by Debtor with respect to the Property including, without limitation, the
Clearing Account and the Cash Management Account, and all complete securities, investments,
property and financial assets held therein from time to time and all proceeds, products,
distributions or dividends or substitutions thereon and thereof;




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                 (o)   Causes of Action. All causes of action and claims (including, without
limitation, all causes of action or claims arising in tort, by contract, by fraud or by concealment
of material fact) against any Person for damages or injury to the Property or in connection with
any transactions financed in whole or in part by the proceeds of the Loan ("Cause of Action");
and

                   (p)  Accounts Receivables. All right, title and interest of Debtor arising from
the operation of the Land and the Improvements in and to all payments for goods or property
sold or leased or for services rendered, whether or not yet earned by performance, and not
evidenced by an instrument or chattel paper, (hereinafter referred to as "Accounts Receivable")
including, without limiting the generality of the foregoing, (i) all accounts, contract rights, book
debts, and notes arising from the operation of a hotel on the Land and the Improvements or
arising from the sale, lease or exchange of goods or other property and/or the performance of
services, (ii) Debtor's rights to payment from any consumer credit/charge card organization or
entities which sponsor and administer such cards as the American Express Card, the Visa Card
and the Mastercard, (iii) Debtor's rights in, to and under all purchase orders for goods, services
or other property, (iv) Debtor's rights to any goods, services or other property represented by any
of the foregoing, (v) monies due to or to become due to Debtor under all contracts for the sale,
lease or exchange of goods or other property and/or the performance of services including the
right to payment of any interest or finance charges in respect thereto (whether or not yet earned
by performance on the part of Debtor) and (vi) all collateral security and guaranties of any kind
given by any person or entity with respect to any of the foregoing. Accounts Receivable shall
include those now existing or hereafter created, substitutions therefor, proceeds (whether cash or
non -cash, movable or immovable, tangible or intangible) received upon the sale, exchange,
transfer, collection or other disposition or substitution thereof and any and all of the foregoing
and proceeds therefrom; and

                   (q)    Other Rights. Any and all other rights of Debtor in and to the items set
forth in Subsections (a) through (p) above.

This UCC-1 Financing Statement is filed in connection with a certain Deed of Trust, Assignment
of Leases and Rents and Security Agreement (the "Security Instrument"), securing payment of a
note of even date in the total principal sum of $8,350,000.00, given by Debtor to Russ Mates, as
Trustee, for the benefit of Secured Party covering the estate of Debtor in the Property and
intended to be duly recorded in the Official Records of Harris County, Texas. Capitalized terms
not defined herein shall have the same meaning as set forth in the Security Instrument and the
Loan Agreement between Debtor and Secured Party, as applicable.




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